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                                                                             December 29, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Steven L. Tiscione, U.S.M.J.
100 Federal Plaza, Courtroom 910
Central Islip, NY 11722-9014
         Re:    Doe v. Long Island Motors, Inc., et ano.
                Case No.: 2:21-cv-1232 (GRB) (ST)____
Dear Judge Tiscione:
        This firm represents Defendant Long Island Motors, Inc. (the “Dealership”) in the above-
referenced case. The Dealership, together with Defendant David Delvecchio (“Delvecchio”)
submits the instant reply letter in further support of its request that this Court modify the so-
Ordered stipulation dated December 8, 20231 (hereinafter the “So-Ordered Stipulation”) to permit
the Defendants to deposit $337,169.11 (the “Judgment Amount”) into court pursuant to Rule 67
of the Federal Rules of Civil Procedure (hereinafter referred to as “Rules” or “Rule”) in lieu of a
bond.

        Contrary to Plaintiff’s suggestion, when the parties agreed to obtain a bond, it was
contemplated that the same would be obtained by showing the Dealership’s financials and paying
a premium to obtain the bond without fronting the entire Judgement Amount. Because the surety
would not issue a bond without placing the entire Judgment Amount in escrow with it, this
constitutes precisely a “mistake of material fact” warranting the relief requested.

        Once again, Plaintiff provides no basis for its refusal other than being stubborn and
obstinate for the sake of being difficult. There is no functional difference to Plaintiff, while
Defendants would be required to unnecessarily pay $8,000.00 to hold money in escrow with the
surety, and Plaintiff’s bad faith is apparent through-and-through because: (i) Plaintiff refused to
meet-and-confer with Defendants in good faith for more than a week; (ii) Plaintiff prevented the
Dealership from operating despite a good faith defense that the Defendants were not properly
served;2 (iii) Plaintiff has irreparably harmed the Dealership and its employees by engaging in this
conduct without any valid basis to do so; and (iv) Plaintiff suffers no prejudice whatsoever by
agreeing to the relief Defendants have requested.



1
    See ECF Docket Entry 39-1 and Text Only Order dated December 8, 2023 “so Ordering” same.
2
 Defendants submit that Plaintiff’s abject failure to properly serve the Defendants constitutes fraud
warranting relief.
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       For the foregoing reasons, Plaintiff’s objections are meritless. The Defendants thank this
Court for its time and attention to this case.

Dated: Lake Success, New York
       December 29, 2023                    Respectfully submitted,

                                            MILMAN LABUDA LAW GROUP PLLC

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                                            Long Island Motors, Inc.
Dated: Hollis, New York
       December 29, 2023
                                            SMIKUN LAW, PLLC

                                            _______/s_______________
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 VIA ECF                                           VIA ECF
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